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                     Exhibit 32
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Palestine Monetary Authority                                                                                      4       •* ' t -         .     1 A tl          dJJI %           t-» 1 . ,<




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     Date: 3/4/2006



     To W h o m It M a y Concern:

     I write in m y capacity as Governor and Chairman of the Board of the Palestine Monetary
     Authority (PMA). T h e P M A Law No. 2 of 1997 established the P M A as an independent
     regulatory body with the mandate to ensure the integrity of banking operations and maintain
     monetary stability. Accordingly, the P M A is the sole authority for licensing and regulating
     banks and all deposit-taking institutions in the Palestinian Territories. Furthermore, the P M A
     fulfills its responsibilities in this regard in accordance with the P M A Law No. 2 of 1997, the
     Banking L a w No. 2 of 2002 and related regulations, in line with internationally recognized
     principles and standards.

     T h e following statement is provided regarding secrecy of banking information in the relevant
     Palestinian Laws. I understand that with respect to a matter pending in the United States District
     Court for the Eastern District of N e w York, an order has been issued directing Arab B a n k pic
     (Arab Bank) to produce documents and information that are protected under Palestinian law.
     Specifically, the P M A understands that plaintiffs in a lawsuit against Arab Bank are seeking
     disclosure of a n u m b e r of banking transactions effected in the Palestinian territories on behalf of
     customers of Arab Bank. Subject to the exceptions provided for in the law, any such disclosure
     would constitute a criminal violation and subject Arab Bank and Bank employees to possible
     imprisonment, fines or both.

     Article 26 of the Banking Law, bank secrecy is safeguarded such that:

                                        All present and former directors and employees of banks shall keep
                                        confidential all information and documents regarding their customers.
                                        T h e directors and employees of banks are prohibited from informing third
                                        parties of any information or permitting third parties to have access to
                                        such information, unless (A) the customer provides consent to disclosure
                                        in writing; or (B) a judicial decision has been rendered.
                                        A n y person who violates the provisions of this article shall b e punished
                                        pursuant to the sections mentioned.


     Article (52) of the Banking L a w further provides that:

                                        A n y person who violates any provision of articles 26, 40, 42, 43, 44, 45, or
                                        46 of this law shall be subject to a fine of not less than JD 5,000 and not
                                        more than J D 100,000, or imprisonment for up to one year, or both.



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